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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

UNITED STATES OF AMERICA


vs.                                       Case No. 2:96-cr-15-FTM-99


MIGUEL RODRIGUEZ


                             OPINION AND ORDER
      This matter is before the Court on Defendant’s Motion Under 18
U.S.C. § 3582(c)(2) to Modify or Reduce Term of Imprisonment
Pursuant to U.S.S.G. § 1B1.10(c), Amendment 706, Effective March 3,
2008 (Doc. #661), filed on March 6, 2008.                 Defendant seeks a
reduction in his sentence in light of Amendment 706 to the United
States Sentencing Guidelines, which reduces the base offense level
for cocaine base (crack cocaine) offenses by two levels.
      In an Order (Doc. #689) filed on April 11, 2008, the Court
appointed    the   Federal   Public     Defender’s   Office      to   represent
defendant, ordered a supplemental presentence report from the U.S.
Probation    Office,   and   directed    responses   to    the   supplemental
presentence report. The supplemental presentence report determined
that defendant was not eligible for a sentence reduction under
Amendment 706.     The United States filed its Response (Doc. #753)
agreeing that defendant is not eligible under Amendment 706 because
defendant was held accountable for more than 4.5 kilograms of
cocaine base, and therefore application of the amendment does not
lower his Sentencing Guidelines range.        Defendant filed a Response
(Doc. #754) asserting he was not held accountable for more than 4.5
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kilograms of cocaine base, and therefore is eligible for a sentence
reduction under Amendment 706.
                                          I.
      Title 18 U.S.C. § 3582(c) gives the court discretionary
authority    to    reduce    the   term       of   imprisonment   portion   of   a
defendant’s       sentence    under       certain      circumstances.   Section
3582(c)(2) provides in pertinent part:
      (c) The court may not modify a term of imprisonment once
      it has been imposed except that -
      . . .
      (2) in the case of a defendant who has been sentenced to
      a term of imprisonment based on a sentencing range that
      has subsequently been lowered by the Sentencing
      Commission pursuant to 28 U.S.C. 994(o), upon motion of
      the defendant or the Director of the Bureau of Prisons,
      or on its own motion, the court may reduce the term of
      imprisonment, after considering the factors set forth in
      section 3553(a) to the extent that they are applicable,
      if such a reduction is consistent with applicable policy
      statements issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(2).            The relevant United States Sentencing

Guidelines (U.S.S.G.) policy statement is U.S.S.G. § 1B1.10, as

amended by Amendment 713 and effective March 3, 2008.

      Reading 18 U.S.C. § 3582(c)(2) in conjunction with U.S.S.G. §

1B1.10(a)(1), the general requirements a defendant must establish

to be eligible for a reduction of the term of imprisonment are: (1)

Defendant had been sentenced to a term of imprisonment; (2) the

term of imprisonment was based on a sentencing range that has

subsequently been lowered by the Sentencing Commission pursuant to

28 U.S.C. § 994(o); (3) defendant is still serving the term of

imprisonment; and (4) the amendment to the Sentencing Guidelines


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has been made retroactive by being listed in U.S.S.G. § 1B1.10(c).1

Even    if   generally   eligible     for   a   reduction     in   the     term   of

imprisonment, a defendant must show that a reduction is consistent

with the policy statement in U.S.S.G. § 1B1.10.                A reduction of a

term    of   imprisonment    is   not    consistent    with     the   Sentencing

Guidelines policy statement, and therefore is not authorized by §

3582(c)(2), if the retroactive amendment does not have the effect

of lowering defendant’s applicable guideline range.                   U.S.S.G. §

1B1.10(a)(2)(B).

        As a result of Amendment 706, base offense level 38 now

applies to an offense involving 4.5 kilograms or more of crack

cocaine,     while   base   offense     level   36   applies    to    an   offense

involving at least 1.5 but fewer than 4.5 kilograms of crack

cocaine.     U.S.S.G. § 2D1.1(c)(1). Thus, the base offense level for

a sentence based on 4.5 kilograms or more of crack cocaine remains

unchanged after Amendment 706. U.S.S.G. App. C, Amend. 706; United

States v. Jones, 548 F.3d 1366 (11th Cir. 2008).                         The Court

properly relies upon the drug quantity found at the original

sentencing, and does not recalculate the amount for purposes of the

Section 3582(c)(2) motion.        United States v. Walker, No. 08-12264,

2008 WL 5007201 (11th Cir. Nov. 24, 2008); United States v. Harris,

No. 08-11431, 2009 WL 368321 (11th Cir. Feb. 17, 2009).




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       United States v. Armstrong, 347 F.3d 905, 909 (11th Cir. 2003).

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                                       II.

       Defendant Rodriguez pled guilty to conspiracy to possess with

intent to distribute an unspecified quantity of crack cocaine, as

charged in a First Superceding Indictment.                      The factual basis in

the Plea Agreement stated that Rodriguez conspired with others from

January, 1993 to February 19, 1996 to possess with intent to

distribute cocaine base, crack cocaine, and that Rodriguez was the

leader and organizer of a crack cocaine distribution organization,

which sold on the average at least three or four kilograms of crack

cocaine   per   month.        (See   Doc.       #331.)          At    his   guilty      plea

proceedings,      Rodriguez    admitted         that      the    facts      in   the    Plea

Agreement were correct and that he was the organizer of the

conspiracy to distribute crack cocaine from January, 1993 to the

end of 1995.      (See Doc. #493, pp. 19-22.)

       The Presentence Report, using a rough method of estimating

drug   quantity    collectively      for       all   of    the       defendants    in   the

conspiracy, determined that there was a total distribution of 53

kilograms of cocaine base by all defendants over the life of the

conspiracy.       (See Presentence Report, ¶ 19.)                      The Presentence

Report    described    defendant      Rodriguez’s           participation         in    the

conspiracy beginning in early 1993, his obtaining cocaine from

sources in Miami, the cooking of the cocaine into crack cocaine,

the distribution of the crack cocaine to numerous co-conspirators

for re-sale, his supervision of others, and his distribution of



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cocaine base into February, 1996.            (See id. at ¶¶ 20-44.)       The

Presentence Report found that Rodriguez was a leader and organizer

in a criminal activity involving five or more participants or was

otherwise extensive.       (See id. at ¶ 58.)      The Presentence Report

found that Rodriguez “distributed well over 1.5                 kilograms of

cocaine base during the instant offense,” (id. at ¶ 20) which at

the time was the threshold amount for Level 38, the highest base

offense level on the drug chart. No factual objections were raised

by defense counsel, and the sentencing judge adopted the facts set

forth in the Presentence Report.          (See Doc. #408.)     The sentencing

judge determined that defendant’s Total Offense Level was 41 (38,

plus a 3 level enhancement for role in the offense), his Criminal

History Category was I, and his Sentencing Guidelines range was 324

to 405 months.      (See id.) After the Court granted the government’s

motion for a downward departure based upon substantial assistance,

defendant was sentenced to 210 months imprisonment.

      As the Presentence Report correctly stated, a defendant is

accountable not only for his own acts but for the acts of others,

undertaken in furtherance of jointly undertaken criminal activity,

which   were    reasonably     foreseeable    to   the   defendant.     (See

Presentence Report, ¶ 53; U.S.S.G. §§ 1B1.3(a)(1)(A) & (B).) “[T]o

determine a defendant’s liability for the acts of others, the

district court must first make individualized findings concerning

the   scope    of   criminal    activity    undertaken    by   a   particular

defendant.     Once the extent of a defendant’s participation in the

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conspiracy    is   established,   the    court   can   determine   the   drug

quantities reasonably foreseeable in connection with that level of

participation. If the court does not make individualized findings,

the sentence may nevertheless be upheld if the record supports the

amount of drugs attributed to a defendant.”              United States v.

Ismond, 993 F.2d 1498, 1499 (11th Cir. 1993) (internal citations

omitted).

      Here, the sentencing judge determined that Rodriguez was an

organizer and leader in the charged conspiracy, that Rodriguez was

personally responsible for the distribution of well over 1.5

kilograms of cocaine base, and that the conspiracy distributed over

53 kilograms of cocaine base.        Given the facts set forth in the

Presentence Report, to which there was no objection by defendant,

the Court concludes that defendant Rodriguez was held accountable

for at least 4.5 kilograms of cocaine base, and is therefore not

eligible for a sentence reduction under Amendment 706.             No other

legal basis exists for a sentence reduction under § 3582(c).             See,

e.g., United States v. Melvin, No. 08-13497, 2009 WL 236053 (11th

Cir. Feb. 3, 2009).

      Accordingly, it is now

      ORDERED AND ADJUDGED:

      Defendant’s Motion Under 18 U.S.C. § 3582(c)(2) to Modify or

Reduce Term of Imprisonment Pursuant to U.S.S.G. § 1B1.10(c),


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Amendment 706, Effective March 3, 2008 (Doc. #661) is DENIED.

      DONE AND ORDERED at Fort Myers, Florida, this           4th    day of

March, 2009.




Copies:
Counsel of record
U.S. Probation




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